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                                   STATEMENT OF FACTS


        Your affiant, Task Force Officer (“TFO”) Robert K. Gebing, Jr., is a deputy of the
Anderson County Sheriff currently assigned to the Joint Terrorism Task Force (“JTTF”) of the
Federal Bureau of Investigation (“FBI”). Specifically, I am tasked with investigating criminal
activity in and around the United States Capitol grounds (“the Capitol”) on January 6, 2021. As
a TFO for the FBI, I am authorized by law or by a Government agency to engage in or supervise
the prevention, detention, investigation, or prosecution of a violation of Federal criminal laws.
        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around
the U.S. Capitol include permanent and temporary security barriers and posts manned by U.S.
Capitol Police. Only authorized people with appropriate identification were allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also
closed to members of the public.
        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate
were meeting in the United States Capitol to certify the vote count of the Electoral College of the
2020 Presidential Election, which had taken place on November 3, 2020. The joint session began
at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.
        As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior
of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the Capitol building and the proceedings underway inside.
        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however,
around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by
breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd
encouraged and assisted those acts.
        Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol
building without authority to be there.
   1. Identification of Riddle and Clardy
        According to records obtained through a search warrant that was served on Google,
mobile devices associated with boltsowner[xx]@gmail.com and kevinclardy[xx]@gmail.com
were unlawfully present inside the U.S. Capitol on January 6, 2021. Pursuant to legal process,
Google provided law enforcement agents with further information for each of the above
accounts. Those records revealed that boltsowner[xx]@gmail.com used the phone number,
(XXX) XXX-6100, as the recovery contact phone number in case the account user needed
assistance or forgot his/her password and that the kevinclardy[xx]@gmail.com account used
(XXX) XXX-5776 as the recovery contact phone number for the account.
        Agents determined that Verizon Wireless provided service for both the 6100 phone
number and that T-Mobile provided service for the 5776 phone number. Pursuant to subpoenas,
Verizon Wireless and T-Mobile provided law enforcement agents with subscriber information
for the above accounts. The subscriber for the 6100 phone number is Brenda Smith in Travelers
Rest, SC with an Authorized User Account Manager Corey Riddle (RIDDLE) with an effective
date of 9/18/2020. The subscriber for the 5776 number is Kevin S Clardy (CLARDY) in
Greenville SC.
       Using the above subscriber information, agents searched South Carolina Department of
Motor Vehicle records and found driver’s license photographs of RIDDLE and CLARDY. The
South Carolina Department of Motor Vehicle records indicate that RIDDLE lists the same
address as Brenda Smith in Travelers Rest, SC, and that CLARDY lives at the Greenville,
South Carolina address associated with his T-Mobile cell phone account.
        Agents searched Facebook and found a publicly available profile for “Corey Riddle.”
The account featured photos depicting events at the US Capitol. See Image 1. The profile listed
the account holder’s birthdate which matches that listed on the SC Driver’s license of RIDDLE.
In the comments posted on this profile, RIDDLE called the events of January 6th “wild as hell”
and “crazy” and noted he was “trying to not get arrested.” See Image 2. The photos show a
distinct tattoo on Riddle’s hand. See Image 3.
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                               Image 1




                               Image 2
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                                                Image 3


       Agents also obtained Google records and data for kevinclardy[xx]@gmail.com which
contained location data, photos, and videos.
        Google records provided a picture of RIDDLE and CLARDY taken on the morning of
January 6, 2021. CLARDY was photographed wearing a black in color leather jacket, black and
white bandana, and ball cap with an American flag. RIDDLE was photographed wearing a dark
blue in color hooded sweatshirt, tan ballcap, and backpack with tan or similarly colored straps.
See Image 4.
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                Image 4 CLARDY circled in red and RIDDLE circled in yellow


   2. Entry into U.S. Capitol
       Based on a review of open source and surveillance videos, law enforcement confirmed
that RIDDLE and CLARDY entered the U.S. Capitol building on January 6, 2021.
       Based on US Capitol CCTV footage, CLARDY (circled in red) and RIDDLE (circled in
yellow) are observed entering the U.S. Capitol at approximately 2:42 p.m. on January 6th through
the Senate Fire door (also known as the Senate Parliamentarian door). See Image 5. They
remained just inside the doorway for approximately 49 seconds before exiting the building
through the same door at 2:43:38. See Image 6.
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                                  Image 5




                               Image 6
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       CLARDY and RIDDLE re-entered the building again through Senate Fire door at 2:44:28
p,m. See Image 7. Approximately 24 seconds later, they assisted a crowd attempting to break a
door leading to office S131. See Image 8. Damage to the door consisted of splintered and
damaged wood, costing $9,860.00 to repair per the Architect of the Capitol.




                                              Image 7




                                              Image 8
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       They both entered that office with the crowd and exited the office through the same door
approximately 50 seconds later at 2:45:02pm. See Image 9.




                                                Image 9
         CLARDY and RIDDLE lingered in front of the office for approximately 46 seconds
before leaving the building again at 2:45. They re-entered the building at approximately a minute
later through the Senate Fire door and entered office S131. See Images 10 and 11.




                                            Image 10
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                                               Image 11
They remained in office S131 for approximately 1 minute, exiting at 2:47:56. They linger in
front of office S131 taking more photos until departing out the Senate Fire door at approximately
2:49 p.m. See Images 12, 13 and 14.
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                               Image 12




                               Image 13
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                                            Image 14
        Google location data confirmed both traveled to Washington DC and the US Capitol.
CLARDY’s records yield numerous photos and videos taken on January 6, 2021. Law
enforcement obtained Facebook and Google records for both RIDDLE and CLARDY. Google
provided photos depicting scenes from the Capitol including those taken inside the building,
including what appears to be the interior of office S131. See Image 15. A photo of RIDDLE
taken inside of office S131 shows a distinct tattoo on his hand. See Image 16 circled in green.




                                            Image 15
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                                           Image 16
        On May 6, 2022, law enforcement interviewed both RIDDLE and CLARDY. During the
interviews that followed, both admitted to going to Washington D.C. and entering the U.S.
Capitol. Both acknowledge helping break open the office door. Both identified themselves in still
images of CCTV videos when presented. The interview was audio and video recorded.
        Law enforcement officers confirmed they appear to resemble the individuals in the
images herein. RIDDLE was also observed to have a tattoo resembling that seen in earlier
images on his hand. RIDDLE consented to agents examining the photos and videos on his
phone. Numerous images and videos taken in Washington and at the Capitol were obtained
depicting events of January 6, 2021. See Image 17.
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                                              Image 17
       RIDDLE also met later with agents and provided the remaining clothing items he still
possessed from January 6th to be photographed including his backpack worn and face covering.
CLARDY later met with agents to allow remaining clothing items he still possessed from
January 6th to be photographed.
        Based on the foregoing, your affiant submits that there is probable cause to believe that
RIDDLE and CLARDY violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.
        Your affiant submits there is also probable cause to believe that RIDDLE and CLARDY
violated 40 U.S.C. § 5104(e)(2)(D)&(G), which makes it a crime to willfully and knowingly (D)
utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any
place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb
the orderly conduct of a session of Congress or either House of Congress, or the orderly conduct
in that building of a hearing before, or any deliberations of, a committee of Congress or either
House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.
        Your affiant submits there is probable cause to believe that RIDDLE and CLARDY
violated 18 U.S.C. § 1361, by willfully injuring or depredating of any property of the United States.
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Damage to the door consisted of splintered and damaged wood, costing $9860.00 to repair per the
Architect of the Capitol.



                                                    _________________________________
                                                    Task Force Officer Robert K Gebing
                                                    Federal Bureau of Investigations

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 20th day of June 2023.
                                                    G. Michael     Digitally signed by G.
                                                                   Michael Harvey

                                                    Harvey         Date: 2023.06.20 11:52:34
                                                    ___________________________________
                                                                   -04'00'

                                                    HON. G. MICHAEL HARVEY
                                                    UNITED STATES MAGISTRATE JUDGE
